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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------x
 PROJECT VERITAS and PROJECT                                :
 VERITAS ACTION FUND,                                       : Civil Action No. 7:23-cv-04533
                                                            :
                                                            :
                                     Plaintiffs,            : FIRST AMENDED COMPLAINT
                                                            : AND DEMAND FOR JURY TRIAL
                   -against-                                :
                                                            :
 JAMES O’KEEFE, TRANSPARENCY 1,                             :
 LLC d/b/a O’KEEFE MEDIA GROUP, RC                          :
 MAXWELL, and ANTHONY                                       :
 IATROPOULOS,                                               :
                                                            :
                                     Defendants.            :
----------------------------------------------------------x
       Being known as the founder of an organization does not entitle that person to run amok

and put his own interests ahead of that organization. Defendant James O’Keefe (“O’Keefe”) failed

in his duties to Plaintiff, Project Veritas, causing it serious and significant damage. O’Keefe must

be held accountable, as must the organization O’Keefe created, Defendant Transparency 1, LLC

d/b/a O’Keefe Media Group (“OMG”) for suborning his violations. Similarly, two individuals

formerly affiliated with Plaintiffs, Defendants RC Maxwell (“Maxwell”) and Anthony Iatropoulos

(“Iatropoulos”) breached their own contracts with Plaintiffs for the benefit of OMG. Plaintiffs

Project Veritas and Project Veritas Action Fund (together “Project Veritas” or “Plaintiffs”) by their

attorneys, allege as follows:

I.     PARTIES

       1.       Plaintiff Project Veritas is a non-stock corporation organized under the laws of the

Commonwealth of Virginia, with a principal place of business in Mamaroneck, New York. It is

registered in New York as a foreign not-for-profit corporation.




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       2.       Plaintiff Project Veritas Action Fund is a non-stock corporation organized under

the laws of the Commonwealth of Virginia, with a principal place of business in Mamaroneck,

New York. It is registered in New York as a foreign not-for-profit corporation.

       3.       Defendant James O’Keefe is a natural person and a citizen of the State of New

York. O’Keefe is a resident of Westchester County, New York.

       4.       Defendant Transparency 1, LLC d/b/a O’Keefe Media Group is a Delaware Limited

Liability Company with a principal place of business in Mamaroneck, New York. Its sole known

member is O’Keefe.

       5.       Defendant RC Maxwell is a natural person and a citizen of the State of Arizona.

       6.       Defendant Anthony Iatropoulos is a natural person and a citizen of the State of

Michigan.

II.    JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 18 U.S.C. § 1836(c) as this is an action for, inter alia, misappropriation of a trade secret

and is, therefore, a federal question under 18 U.S.C. § 1836, et seq. The Court has supplemental

jurisdiction over the state law claims pursuant to 28 U.SC. § 1367.

       8.       This Court has personal jurisdiction over O’Keefe and OMG because they reside

in, do business in, and are citizens of the State of New York, and the courts thereof have

jurisdiction over him per CPLR § 301. O’Keefe otherwise consented to the jurisdiction of this

Court pursuant to Paragraph 28(B) of his At-Will Employment Agreement of June 22, 2010, as

amended on or about September 20, 2022 (“Employment Agreement” or “EA”), a true and correct

copy of which appears at Exhibit A, as redacted, attached hereto and incorporated herein by

reference. Iatropoulos consented to the jurisdiction of this Court pursuant to Paragraph 25 of his

At-Will Employment Agreement of June 6, 2022, as amended on or about September 4, 2022


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(“Iatropoulos Agreement”) a true and correct copy of which appears at Exhibit B, as redacted,

attached hereto and incorporated herein by reference. Maxwell consented to the jurisdiction of this

Court pursuant to Paragraph 27 of his At-Will Employment Agreement of November 1, 2021,

(“Maxwell Agreement”) a true and correct copy of which appears at Exhibit C, as redacted,

attached hereto and incorporated herein by reference.

       9.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) & (2) as O’Keefe

and OMG reside in this District and a substantial part of the events and omissions giving rise to

the claims raised herein occurred in this District. O’Keefe otherwise consented to venue in this

Court pursuant to Paragraph 28(B) of the Employment Agreement. Similarly, Iatropoulos and

Maxwell consented to venue in this Court pursuant to paragraphs 25 and 27 of their respective

agreements.

       10.      Pursuant to Paragraph 23(B) of the Employment Agreement, Project Veritas may

proceed in this Court, and is exempt from arbitration, as this is an action to seek preliminary and

final injunctive relief to enforce the restrictions and obligations of the Employment Agreement

and to restrain actual breach of those restricts and obligations, and it may, therefore, pursue in this

Court “any and all additional remedies available at law,” notwithstanding the arbitration provisions

of the Employment Agreement. The materially identical provision appears at Paragraphs 25 and

29 of the Iatropoulos Agreement and Maxwell Agreement, respectively.

III.   FACTS GIVING RISE TO COMPLAINT

       11.      Project Veritas and Project Veritas Action Fund are 501(c)(3) and 501(c)(4),

respectively, not for profit corporations formed under Virginia law with headquarters in

Westchester County, New York.




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        12.     Both organizations engage in investigations and reporting aimed at exposing

corruption, dishonesty, self-dealing, waste, fraud, and other misconduct in both public and private

institutions.

        13.     As not for profit organizations, Plaintiffs rely on donations from private donors to

support their activities. Plaintiffs maintain a database of information about their donors, including

the donors’ identities and contact information. Plaintiffs keep that donor information confidential

and protect it from disclosure to the public by, among other things: (1) restricting access to the

information; (2) storing it on a password protected computer system; and (3) requiring employees

with access to the information to acknowledge its confidentiality and agree not to disclose it .

        14.     James O’Keefe founded Project Veritas in 2010. He was, through his separation,

the Chief Executive Officer of Project Veritas, President of Project Veritas Action Fund, and a

member of the Board of Directors of both organizations, though he was suspended (yet not

removed) on February 6, 2023.

        A. The Employment Agreement

        15.     On June 22, 2010, O’Keefe entered into the Employment Agreement with

Plaintiffs, with the operative version being the Employment Agreement as amended on September

20, 2022, which O’Keefe and Project Veritas signed on September 30, 2022.

        16.     As part of the Employment Agreement, O’Keefe agreed to certain terms and

conditions, both during and after the term of his employment.

        17.     In Paragraph 1(B) of the Employment Agreement, O’Keefe agreed that he,

identified as “Employee” thereunder, “shall devote Employee’s full working time and attention

and best efforts to the performance of Employee’s job.”

        18.     In Paragraph 10(A) of the Employment Agreement, O’Keefe agreed that:




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                Project Veritas shall be the sole owner of any and all rights in and to the
                results and proceeds of Employee’s services to Project Veritas, and it shall
                have the sole right to use, exploit, advertise and exhibit the foregoing in any
                and all media, whether now known or hereafter devised throughout the
                world, in all languages, as Project Veritas in its sole and unfettered
                discretion shall determine. Employee agrees that anything created by
                Employee in connection with the services Employee provides to Project
                Veritas shall belong exclusively to Project Veritas, and not to Employee,
                including, but not limited to, any and all video, film, photographs,
                negatives, video footage, images, renderings, audio video works, audio,
                recordings, multimedia works, music, reproductions, performances, digital
                media works, still images and/or other images or footage, documents,
                papers, writings (both published and unpublished), written work product
                (including drafts), designs, inventions, patents, trademarks, copyrightable
                materials, ideas, intellectual property, trade secrets, creative concepts,
                including all compilations, collections, or other work product created within
                the scope of or in the course of Employee’s employment with Project
                Veritas and Employee’s performance pursuant to this Agreement, and
                derivatives thereof, and the like (“Work(s)”).

       19.      Paragraph 10(A) of the Employment Agreement further ensured Project Veritas

would hold the copyright to such Works, stating:

                 Employee hereby expressly waives and hereby irrevocably transfers and
                assigns to Project Veritas all rights in the Work(s), including but not limited
                to all rights under Section 203 of the Copyright Act together with any
                “artist’s rights” and/or “moral rights” that Employee might otherwise have
                in the Work(s). To the extent that a question arises about whether Project
                Veritas owns in its entirety any Work(s) (including whether the Work(s) are
                Made for Hire), Employee hereby expressly and irrevocably sells, transfers,
                and assigns to Project Veritas, all right, title, and interest in and to such
                Work(s) in consideration for the consideration paid to Employee hereunder.
                Employee further expressly and irrevocably grants to Project Veritas a
                worldwide, perpetual, exclusive license for the Work(s) from now until the
                end of time to use, print, reproduce, distribute, perform, rent, loan, edit,
                modify, publish, display, transfer, sell, assign, create derivative works from
                and/or based upon, and/or license to others, in any manner, form, or media
                now known or hereafter invented as Project Veritas so chooses in Project
                Veritas’s sole and complete discretion. Employee agrees that on Project
                Veritas’s request, that Employee will execute any documents necessary or
                advisable in the opinion of Project Veritas to direct issuance of patents or
                copyrights to Project Veritas, the expense of securing any such patent or
                copyright, to be borne by Project Veritas.

(EA ¶ 10(A)).



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       20.     In the Employment Agreement, O’Keefe acknowledged that certain information is

confidential. (EA ¶ 11, identifying “Confidential Information”). O’Keefe agreed to keep all

Confidential Information in the “highest confidence” and not to disclose that Confidential

Information without Project Veritas’s prior written consent.        (EA ¶ 11.B).      “Confidential

Information” includes, in relevant part, information regarding Project Veritas’s projects, potential

projects, organizational practices, and donors and potential donors. (EA ¶ 11.A).

       21.     O’Keefe’s obligation to maintain Plaintiffs’ Confidential Information in the highest

confidence continues beyond his employment (EA ¶ 11.D), to wit:

               Employee expressly agrees that the terms of this paragraph shall survive
               after the conclusion of Employee’s employment with Project Veritas and/or
               the expiration or termination of this Agreement, and that after leaving
               employment with Project Veritas, in addition to all other obligations
               hereunder, Employee will not disclose to any person or entity, or seek from
               any current or former Project Veritas employee, contractor or vendor, any
               Confidential Information.

       22.     The Employment Agreement also contains a non-disparagement clause, pursuant

to which O’Keefe warranted and agreed that:

               during and after Employee’s employment, Employee shall not, directly or
               indirectly, make any disparaging statements or other negative remarks,
               written or oral, about Project Veritas, or any of its directors, officers,
               employees, contractors, donors, agents, attorneys or representatives,
               Employee’s employment by Project Veritas, the subject matter of this
               Agreement, any Work(s) or News Stories, or the services rendered by
               Employee or others in connection with any Work(s) or News Stories.”

       (EA ¶ 12).

       23.     The Employment Agreement contains a liquidated damages provision in which

O’Keefe acknowledged that if he breached his non-disclosure and/or non-disparagement

obligations, Project Veritas would recover liquidated damages of $100,000 or actual damages,

whichever is greater, per each such breach. (EA ¶ 13).




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       24.     The Employment Agreement also prohibits O’Keefe from engaging in outside

activities that would interfere with or hinder his work for Project Veritas. Specifically, in

paragraph 15 (entitled “Prohibited Outside Activities”) O’Keefe agreed that he would not:

               engage in any activity, whether as an employee, contractor, volunteer or in
               any other capacity for any person or entity other than Project Veritas that
               will or is likely to (i) hinder, interfere with, or prevent Employee from
               devoting Employee’s full time and attention and best efforts to Employee’s
               work for Project Veritas; (ii) hinder, interfere with, or prevent Employee
               from fully and properly performing Employee’s job responsibilities as
               assigned to Employee from time to time by Project Veritas; or (iii) give rise
               to an actual conflict of interest or the appearance of a conflict of interest
               with Project Veritas and/or its mission or work (any such activity,
               “Prohibited Outside Activity”) without the express written approval by the
               CEO of Project Veritas.

       (EA ¶ 15).

       25.     The Employment Agreement also prohibits O’Keefe from soliciting two categories

of people: donors and employees/contractors of Project Veritas. (EA ¶¶ 16 & 17).

       26.     First, O’Keefe agreed that during (and for one year after) his employment he:

               will not, directly or indirectly, individually or in any other capacity solicit,
               offer employment, employ, or interfere with any Project Veritas employee
               or contractor, or other person or entity that was a Project Veritas employee
               or contractor within the twelve (12) months immediately prior to the
               termination of Employee’s employment with Project Veritas, to cease
               working for or providing services to Project Veritas.

       (EA ¶ 16).

       27.     The Employment Agreement also prohibits O’Keefe, during and after his

employment, from contacting, soliciting or otherwise communicating with “any person or entity

that is a donor or prospective donor to Project Veritas whom Employee learns of or with whom

Employee otherwise comes into contact as a result of Employee’s employment by, or work for

Project Veritas.” (EA ¶ 17).




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           28.    The Employment Agreement also requires that, upon separation of employment,

that he:

                  shall return any and all Project Veritas property of any kind, including, but
                  not limited to, any computers and other electronic devices, recording and
                  communication devices, documents and information (whether in hard copy
                  or electronic and not keep any copies), software or applications, and any
                  work product (whether completed or incomplete) in the same condition in
                  which it was received by Employee, reasonable wear and tear excepted.

           (EA ¶ 22).

           29.    The Agreement incorporates by reference Project Veritas’s Employee Handbook

(the “Handbook”), and company policies. (EA ¶ 27). The Handbook identifies Plaintiffs’

Standards of Conduct, Work Rules and Conduct and Prohibited Conduct. These sections prohibit,

among other things, being threatening, intimidating or disrespectful to coworkers.

           B. Plaintiffs Suspend O’Keefe Pending the Completion of Investigations into His
              Alleged Misconduct

           30.    During O’Keefe’s employment, the Board became aware of serious allegations by

Project Veritas employees about incredibly troubling workplace and financial misconduct by

O’Keefe.

           31.    For instance, Project Veritas’s Board of Directors (“Board”) heard allegations that

O’Keefe routinely behaved unprofessionally during team meetings, including by screaming at

coworkers and belittling them and their contributions to Project Veritas.

           32.    O’Keefe was alleged to have particularly targeted female employees with mean-

spirited comments about their lack of contributions to the companies and inappropriate comments

about personal situations like pregnancies.

           33.    Employees alleged that O’Keefe had strained relationships with several donors

because he was routinely late for meetings and rude at VIP events designed to give donors extra

access to O’Keefe.


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       34.      O’Keefe also routinely was late for work meetings or canceled them at the last

minute. According to the allegations, O’Keefe exhibited a general lack of respect for employees

and his team.

       35.      Other employees alleged that they personally had observed obscene messages

between O’Keefe and various women on social media applications when accessing O’Keefe’s

phone for work-related matters.

       36.      The Board also learned of O’Keefe’s alleged financial misconduct.

       37.      Multiple employees alleged that O’Keefe used Project Veritas employees to run

personal errands for him. These errands included picking up O’Keefe’s laundry, cleaning his boat,

repairing his boat, and doing other similar errands for O’Keefe.

       38.      O’Keefe also allegedly used his Project Veritas credit card for some personal

expenses, and directed Project Veritas funds to be used for lavish expenses and, in some instances,

his personal benefit. Examples of these allegations included:

                a.     Directing the organization to pay more than $10,000 for a helicopter flight
                       from New York to Maine without a clear benefit to Project Veritas;

                b.     Directing the organization to pay for first-class air travel for O’Keefe even
                       where the flight did not satisfy the organization’s policy for approving first-
                       class flights;

                c.     Using his Project Veritas credit card for expensive hotel rooms and suites
                       at luxury hotels without clear business purpose, when other employees on
                       the same trips were required to stay in budget accommodations;

                d.     Directing the organization to pay for expenses associated with large
                       organizational awareness events like the Project Veritas Experience,
                       without engaging in any analysis to help the organization understand the
                       potential return on investment or capitalize on the connections made
                       through these events; and

                e.     Causing the organization to pay for his regular use of private car services
                       (“black cars”), even to go relatively short distances in and around
                       Manhattan and then wait outside of restaurants for hours, at a total expense
                       of more than $150,000 over the past 18 months.


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       39.     O’Keefe took it upon himself, without authority, on February 2, 2023, to terminate

the employment of Project Veritas’s Chief Financial Officer, and O’Keefe admitted that he was

the one who did the terminating. See https://www.youtube.com/watch?v=1JPxqKjYG9Q.

       40.     The Board took immediate action in response to these troubling allegations.

       41.     The Board created a special audit committee to investigate the allegations and

retained outside counsel to help conduct that investigation.

       42.     On February 6, 2023, by majority vote, the Board placed O’Keefe on paid leave,

suspending his authority to hire and fire staff for 180 days, requiring him to surrender his company

credit card, and restricting his access to proprietary information, including donor lists, but

explicitly indicated that he “remains as CEO and a member of the Board”.

       43.     After authorization to use the card was revoked on February 6, 2023, O’Keefe

continued to use the Project Veritas credit card for personal expenses, in the amount of

approximately $19,000.

       44.     O’Keefe participated in the February 6, 2023, meeting, where employee testimony

was heard.

       45.     O’Keefe refused to participate in a February 10, 2023, meeting at which financial

findings were presented to the Board, and O’Keefe was suspended as CEO and from the Board

(but not removed as a member thereof) indefinitely pending the resolution of the Board’s

investigation into the allegations of O’Keefe’s misconduct.

       46.     On February 15, 2023, the Project Veritas Executive Director and Board put out a

statement explicitly stating that “James [O’Keefe] has not been removed from Project Veritas.”

The statement noted that the Board members “all love James [O’Keefe]. They are volunteers hand-

picked by James [O’Keefe].” And, in that statement, it was explicitly denied that the actions




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regarding O’Keefe related to Pfizer, stating we are still, in no way, and will never be, ‘Brought to

you by Pfizer.’”

        47.      O’Keefe sent an email on February 16, 2023, outlining terms for his return,

including resignation of all of the Board and most of the Project Veritas officers, and vesting him

with unilateral control over Plaintiffs. Otherwise, he would not ”return to the employment of”

Plaintiffs. See https://www.youtube.com/watch?v=1JPxqKjYG9Q.

        48.      The Board did not terminate O’Keefe’s employment, but rather intended to

reinstate him with appropriate safeguards.

        49.      O’Keefe was not formally removed from the Board until April 24, 2023.

        50.      O’Keefe was not formally terminated from his employment by Plaintiffs until May

15, 2023.

        C. O’Keefe Breaches his Employment Agreement

        51.      In response to his suspension, O’Keefe immediately began breaching his

obligations under and the restrictive covenants of the Employment Agreement.

        52.      On February 17, 2023, O’Keefe formed OMG. OMG notes on its website that it is

located in Mamaroneck, New York, which is where O’Keefe lives and where Project Veritas is

headquartered.

        53.      According to its website, OMG is a media organization managed by O’Keefe with

substantially the same mission and structure as Project Veritas. OMG is a company whose website

describes itself as having “an army of journalists” and is building “an army of investigators and

exposers along with the most elite journalists in the world.”           See https://okeefemediagr

oup.com/mission/.

        54.      The OMG website even refers to “never be[ing] shut down again” because O’Keefe

owns it. Id.


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        55.    Forming and operating OMG was in violation of the Employment Agreement’s

“Prohibited Outside Activities” provision.

        56.    O’Keefe made multiple public media appearances in which he falsely stated that he

was terminated from Project Veritas including, but not limited to, the programs set forth below.

        57.    On March 15, 2023, O’Keefe appeared on The Charlie Kirk Show and falsely

implied that his separation from Plaintiffs was part of the “aftermath” of the Pfizer story and falsely

stated that he was “thrown out” of Project Veritas. See https://rumble.com/v2db8bo-breaking-

james-okeefe-launches-okeefe-media-group-after-removal-from-projec.html.

        58.    The appearance on the foregoing program was by O’Keefe for the benefit of OMG

and as an agent thereof.

        59.    On March 15, 2023, O’Keefe appeared on Steve Bannon’s War Room and falsely

stated that he had been “removed” from Project Veritas. See https://rumble.com/v2db9rw-james-

okeefe-the-vision-of-omg-is-to-put-cameras-in-the-hands-of-thousands-.html

        60.    The appearance on the foregoing program was by O’Keefe for the benefit of OMG

and as an agent thereof.

        61.    On March 15, 2023, O’Keefe appeared on Under the Skin with Russell Brand,

where he falsely stated that he had been “thrown out of [Project Veritas]”. See

https://rumble.com/v2d9cz8-oh-sht-russians-down-us-droneww3-091-stay-free-with-russell-bran

d.html?fbclid=IwAR1d8Ot5H_QV5ofmM6Y06UmhTQK1JC1Llrj10NFv34mtwFZmWAydBU8

W5PE.

        62.    The appearance on the foregoing program was by O’Keefe for the benefit of OMG

and as an agent thereof.




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        63.      On March 15, 2023, O’Keefe appeared on The Mark Levin Show, where he falsely

said    he    was   “ousted   from   [Project   Veritas]   by   the   Board   of   Directors”.   See

https://www.youtube.com/watch?v=U9nFjB3TLno

        64.      The appearance on the foregoing program was by O’Keefe for the benefit of OMG

and as an agent thereof.

        65.      On March 19, 2023, O’Keefe appeared on Human Events and The Ben Shapiro

Show, where he falsely stated that Project Veritas had been “stolen” from him and that he had been

“thrown out” from Project Veritas, respectively. See https://rumble.com/v2dmsso-sunday-special-

the-truth-about-james-okeefe.html and https://www.youtube.com/watch?v=2vy4ZnLHgMw.

        66.      The appearances on the foregoing programs were by O’Keefe for the benefit of

OMG and as an agent thereof.

        67.      On May 3, 2023, O’Keefe appeared on The Megyn Kelly Show and falsely stated

that he was “terminated” from employment with Project Veritas and again falsely implied his

separation was related to the Pfizer story. See https://www.youtube.com/watch?v=rXG14Av

Xq50.

        68.      The appearance on the foregoing program was by O’Keefe for the benefit of OMG

and as an agent thereof.

        69.      These statements—which Mr. O’Keefe knows to be false—are disparaging of

Plaintiffs, were intended to discredit Project Veritas’ Board of Directors, and are all breaches of

the Employment Agreement.

        70.      O’Keefe also disparaged the Board by falsely insinuating that the pharmaceutical

company Pfizer, Inc., orchestrated O’Keefe’s suspension or that it was somehow done to mollify

Pfizer, a company about which a video had been released regarding potentially disturbing actions




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taken by Pfizer vis a vis the coronavirus. See https://www.nationalreview.com/news/founder-

james-okeefe-claims-project-veritas-ouster-linked-to-pfizer-sting-in-farewell-to-staff/ and https:/

/www.youtube.com/watch?v=1JPxqKjYG9Q. The Pfizer video release was on January 25, 2023,

nearly two weeks prior to the complaints prompting the investigation into O’Keefe, and was

unrelated.

       71.     Such statement was by O’Keefe for the benefit of OMG and as an agent thereof.

       72.     O’Keefe misappropriated Project Veritas confidential information by taking donor

lists and contact information, equipment, as well as unreleased investigation publications by

Project Veritas, rebranded as OMG material.

       73.     After his suspension, O’Keefe engaged in a campaign to disparage Project Veritas

to its donors and solicit them to donate to OMG.

       74.     Such campaign was by O’Keefe for the benefit of OMG and as an agent thereof.

       75.     Similarly, O’Keefe solicited numerous Project Veritas employees and contractors

to attempt to poach them to come work for him at OMG.

       76.     Such solicitation was by O’Keefe for the benefit of OMG and as an agent thereof.

       77.     On February 20, 2023, O’Keefe recorded and published a video on the Vimeo

platform (which has since been removed) announcing he was “packing up [his] personal

belongings and [he was] intending to start anew”, without resigning from his employment or board

membership, and generally soliciting current employees of Plaintiffs to work with him, stating

“So, our mission continues on. I’m not done”, and “The mission will perhaps take on a new name,

and it may no longer be called Veritas, Project Veritas. I will need a bunch of people around me,

and I’ll make sure, I’ll make sure you know how to find me.”              See https://www.nation




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alreview.com/news/founder-james-okeefe-claims-project-veritas-ouster-linked-to-pfizer-sting-in-

farewell-to-staff/ and https://www.youtube.com/watch?v=1JPxqKjYG9Q.

       78.     Such publication was by O’Keefe for the benefit of OMG and as an agent thereof.

       79.     O’Keefe has and continues to solicit Project Veritas’s donors, employees and

contractors, in direct violation of his Employment Agreement, for and on behalf of OMG.

       80.     As an example of donor solicitation in violation of his Employment Agreement, on

or about May 25, 2023, O’Keefe, from his OMG e-mail address, sent a form solicitation e-mail to

at least two Project Veritas donors who are not OMG donors, stating “Hey there, I know you’ve

been a supporter of my work in the last year” and linking to the OMG webpage that solicits

monetary “subscriptions”.

       81.     The only way O’Keefe and OMG had those donors’ contact information was

because it was part of a confidential list kept by Project Veritas.

       82.     O’Keefe also has misappropriated Project Veritas property by taking Project

Veritas’s equipment, donor lists and intellectual property for his own use with OMG.

       83.     Indeed, several Project Veritas staff already have joined OMG including RC

Maxwell and Anthony Iatropoulos, who appear to be using Project Veritas property in the course

of their employment with OMG.

       84.     The Iatropoulos Agreement contains the same material terms as O’Keefe’s

Employment Agreement as identified herein, though differently numbered, to wit: the terms

identified in Paragraphs 1(b), 10(A), 11, 2, 13, 15, 16, 17, 21, 22 & 23 of the Employment

Agreement appear at Paragraphs 2, 11, 12, 13, 14, 16, 17, 18, 23, 24 & 25 of the Iatropoulos

Agreement respectively.




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       85.     The Maxwell Agreement contains the same material terms as O’Keefe’s

Employment Agreement as identified herein, though differently numbered, to wit: the terms

identified in Paragraphs 1(b), 10(A), 11, 2, 13, 15, 16, 17, 21, 22 & 23 of the Employment

Agreement appear at Paragraphs 2, 11, 12, 28, 14 (A & D), 15, 16, 23, & (26 & 29) of the Maxwell

Agreement respectively, with the exception that liquidated damages for Maxwell’s breaches are

calculated at $10,000 per breach.

       86.     The Employment Agreement states that if O’Keefe breaches or threatens to breach

the Employment Agreement, Project Veritas can seek preliminary and permanent injunctive relief

in court. (EA ¶ 23.B).

       87.     O’Keefe acknowledged that such a breach or threatened breach “will result in

irreparable harm to Project Veritas.” (Id.) Plaintiffs will continue to be irreparably harmed unless

the Court orders O’Keefe to comply with the terms of his Employment Agreement.

       88.     The Employment Agreement also provides that if Project Veritas obtains an

injunction, O’Keefe “shall then immediately become liable to pay the attorneys’ fees and costs

incurred by Project Veritas to obtain the injunction.” (Id.)

       89.     If this Court does not preliminarily enjoin O’Keefe and OMG from soliciting

Project Veritas’s donors and employees, they may have solicited them all by the time Project

Veritas wins a judgment prohibiting them from such solicitation.

       D. O’Keefe Misappropriated the Copyright in the Books He Claimed to Author

       90.     On or about June 18, 2013, O’Keefe caused to be published under his name as

author the book “Breakthrough: Our Guerrilla War to Expose Fraud and Save Democracy”

(hereinafter “Breakthrough”).

       91.     Breakthrough was created as a work within the course and scope of O’Keefe’s

employment with Project Veritas.


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       92.     On June 20, 2013, O’Keefe, through publisher Simon & Schuster, Inc., registered

the copyright in Breakthrough, Registration No. TX0007736898, with O’Keefe as the copyright

claimant.

       93.     On or about December 27, 2017, O’Keefe caused to be published under his name

as author the book “American Pravda: My Fight for Truth in the Era of Fake News” (hereinafter

“American Pravda”).

       94.     American Pravda was created as a work within the course and scope of O’Keefe’s

employment with Project Veritas.

       95.     On February 14, 2018, O’Keefe, through publisher Macmillan Publishing Group,

LLC, d/b/a St. Martin’s Press, registered the copyright in American Pravda, Registration No.

TX0008583606, with O’Keefe as the copyright claimant.

       96.     On or about January 25, 2022, O’Keefe caused to be published under his name as

author the book “American Muckraker: Rethinking Journalism for the 21st Century” (hereinafter

“American Muckraker”).

       97.     American Muckraker was created as a work within the course and scope of

O’Keefe’s employment with Project Veritas.

       98.     American Muckraker is a Work within the meaning of EA ¶ 10(A).

       99.     On September 28, 2022, O’Keefe, through publisher Post Hill Press, LLC,

registered the copyright in American Muckraker, Registration No. TX0009192779, with O’Keefe

as the copyright claimant.

       100.    Employees of Project Veritas other than O’Keefe contributed, in the course and

scope of their employment with Project Veritas, to the creation of American Muckraker, including

the provision of editorial services, secondary and supplemental writing, sourcing and formatting




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of footnotes and end pages, primary communication and coordination with the publisher,

coordination of the editorial process with O’Keefe, and overall project management.

       101.     Notably, approximately a dozen Project Veritas staff members took part in writing

chapters of American Muckraker in the course and scope of their employment with Project Veritas.

       102.     Upon information and belief, employees of Project Veritas other than O’Keefe

contributed, in the course and scope of their employment with Project Veritas, to the creation of

American Pravda and Breakthrough, including the provision of editorial services, secondary and

supplemental writing, sourcing and formatting of footnotes and end pages, primary communication

and coordination with the publisher, coordination of the editorial process with O’Keefe, and

overall project management.

       103.     O’Keefe utilized Project Veritas employees and resources to promote American

Muckraker, including a book tour for American Muckraker, that utilized Project Veritas staff and

finances.

       104.     O’Keefe also utilized Project Veritas employees and resources to promote

Breakthrough and American Pravda.

       105.     Upon information and belief, O’Keefe has received payments for Breakthrough

that were not turned over to Project Veritas.

       106.     Upon information and belief, O’Keefe has received payments for American Pravda

that were not turned over to Project Veritas.

       107.     Upon information and belief, O’Keefe has received payments for American

Muckraker that were not turned over to Project Veritas.




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IV.   CAUSES OF ACTION

                                       COUNT I
                                  BREACH OF CONTRACT

                                     (Plaintiffs vs. O’Keefe)

      108.    Plaintiffs repeat and reallege paragraphs 1 through 107 hereof, as if fully set forth

herein.

      109.    To state a claim for a breach of contract, a plaintiff must show “the existence of a

contract, the plaintiff’s performance thereunder, the defendant’s breach thereof, and resulting

damages.” Harris v. Seward Park Housing Corp., 79 A.D.3d 425, 426 (1st Dep’t 2010).

      110.    The Employment Agreement is a valid and binding contract between Project

Veritas and O’Keefe.

      111.    Project Veritas Action Fund is an intended beneficiary of the Employment

Agreement per Employment Agreement ¶ 21.

      112.    As set forth above, O’Keefe was required under the Employment Agreement ¶ 1.B

to devote his full working time and attention and best efforts to the performance of his job.

      113.    Although O’Keefe was suspended, the formation of OMG, to compete with Project

Veritas, violated requirements of ¶ 1.B.

      114.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 10.A that all

of the work and work product derived from O’Keefe’s services belonged to Project Veritas.

      115.    O’Keefe’s use of donor lists and contact information, equipment, as well as already

filmed and/or released investigation publications by Project Veritas, rebranded as OMG material.

violates ¶ 10.A as he is using property of Project Veritas without authorization.

      116.    O’Keefe’s claim of copyright in Breakthrough, American Pravda, and American

Muckraker violated ¶ 10.A and its predecessors.



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       117.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 11 that any

and all information O’Keefe learned in the course of his employment was confidential.

       118.    O’Keefe’s use of donor lists and contact information, equipment, as well as

unreleased investigation publications by Project Veritas, rebranded as OMG material. violates ¶

11 and breaches the confidentiality to which he is obligated.

       119.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 12 that he

would not make negative remarks about or disparage Project Veritas and its affiliated persons.

       120.    O’Keefe’s statements, identified above,       violate ¶ 12 they are negative and

disparaging of Project Veritas and its affiliated persons.

       121.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 15 that he

would not engage in ventures giving rise conflicts of interest with Project Veritas.

       122.    O’Keefe’s formation and operation of OMG while employed at Project Veritas

without express written consent violates ¶ 15 as OMG competes with Plaintiffs and is a direct

conflict of interest.

       123.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 16 that he

would not solicit Project Veritas past and present employees and contractors during and for 12

months after his employment.

       124.    O’Keefe violated ¶ 16 by soliciting past and present Project Veritas employees and

contractors, beginning February 20, 2023.

       125.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 17 that he

would not solicit Project Veritas present or prospective donors during and for 12 months after his

employment.

       126.    O’Keefe violated ¶ 17 by soliciting present and/or prospective donors.




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      127.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 22 to return

Project Veritas property at separation from employment.

      128.    Demand was made on May 17, 2023, for O’Keefe to return all of Plaintiffs’

property in his possession.

      129.    O’Keefe violated ¶ 22 by failing to return donor lists and contact information,

equipment, as well as already filmed and/or released investigation publications by Project Veritas.

      130.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 27 to abide

the Project Veritas handbook and policies.

      131.    O’Keefe violated ¶ 27 by maintaining a toxic workplace culture and engaging in

the behavior identified in a February 6, 2023, letter from sixteen Project Veritas employees.

      132.    As a direct and proximate result of O’Keefe’s foregoing breaches of contract,

Plaintiffs have suffered actual damages, which they are entitled to recover from O’Keefe.

      133.    As a direct and proximate result of O’Keefe’s breaches of ¶¶ 11 & 12 of the

Employment Agreement, Plaintiffs are entitled to $100,000 in liquidated damages per breach,

which they are entitled to recover from O’Keefe.

      134.    As a direct and proximate result of O’Keefe’s foregoing breaches of contract,

Plaintiffs have been irreparably harmed, and they are entitled to preliminary and permanent

injunctive relief enjoining O’Keefe from: (1) disparaging Plaintiffs in violation of the non-

disparagement provision of the Employment Agreement; (2) contacting or soliciting Plaintiffs’

donors in violation of the non-solicitation of donors provision of the Employment Agreement; (3)

contacting or soliciting Plaintiffs’ employees or contractors in violation of the Agreement’s non-

solicitation of employees provision; (4) obtaining, using or disclosing any of Plaintiffs’

Confidential Information (as defined in the Employment Agreement) in violation of the




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Employment Agreement’s provisions regarding Confidential Information; and (5) keeping and

failing to return any and all property belonging to Plaintiffs, including copyrights, and Plaintiffs

are entitled to attorneys’ fees and costs to obtain such injunctive relief.

       135.   Plaintiffs have suffered and will continue to suffer irreparable harm unless the

Court enjoins O’Keefe’s misconduct.          First, O’Keefe acknowledged in the Employment

Agreement that his breaches of his obligations and these restrictive covenants caused irreparable

harm to Plaintiffs. Second, if O’Keefe is not enjoined Plaintiffs will continue to lose donors,

employees and suffer reputational harm and injury to its goodwill.

       136.   The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if O’Keefe is not enjoined. On the other hand,

O’Keefe would suffer no prejudice under the proposed injunction.

       137.   Finally, an immediate injunction is necessary because without it any final

injunction Plaintiffs win in the future will be rendered ineffectual or meaningless. If O’Keefe is

not enjoined from soliciting Plaintiffs’ donors and employees and misappropriating its

Confidential Information, he will have solicited all or enough donors and employees and

misappropriated enough Confidential Information such that a final award enjoining him from

continuing that conduct will be meaningless.

                                     COUNT II
                      VIOLATION OF DEFEND TRADE SECRETS ACT

                                      (Plaintiffs vs. O’Keefe)

       138.   Plaintiffs reallege paragraphs 1 through 89 hereof, as if fully set forth herein.

       139.   Plaintiffs’ Confidential Information, including its donor lists and employee lists,

and unaired programming, are “trade secrets” within the meaning of 18 U.S.C. § 1839(3), as

Plaintiffs take reasonable measure to keep such information secret, including requiring employees



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to sign non-disclosure agreements, and has independent economic value, it is not generally known

to and not readily ascertainable to others, like O’Keefe and OMG, who can obtain economic value

from the disclosure thereof.

        140.     Plaintiffs’ trade secrets relate to Plaintiffs’ services, including investigative

journalism and broadcasting, used in and/or intended for use in interstate commerce.

        141.     O’Keefe took and failed to return Plaintiffs’ donor lists and contact information,

equipment, as well as already unreleased investigation publications by Project Veritas all of which

are trade secrets.

        142.     O’Keefe misappropriated Plaintiffs’ said trade secrets as set forth above by

converting them to the use of OMG in competition with Plaintiffs.

        143.     O’Keefe’s misappropriation was willful and malicious for, as having been CEO, he

knew what belonged to Plaintiffs and is sufficiently sophisticated that he knew he could not convert

it to his own use or for the use of OMG.

        144.     As a direct and proximate result of O’Keefe’s misappropriation, Plaintiffs suffered

actual losses.

        145.     As a direct and proximate result of O’Keefe’s misappropriation, O’Keefe was

unjustly enriched.

                                         COUNT III
                                 BREACH OF FIDUCIARY DUTY

                                        (Plaintiffs vs. O’Keefe)

        146.     Plaintiffs reallege paragraphs 1 through 107 hereof, as if fully set forth herein.

        147.     As set forth above, prior to his separation, O’Keefe was a member of the Board of

Directors of both Plaintiffs, though he was suspended (yet not removed) on February 6, 2023.




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       148.     “Under New York law, a fiduciary relationship arises when one has reposed trust

or confidence in the integrity or fidelity of another who thereby gains a resulting superiority of

influence over the first, or when one assumes control and responsibility over another.” Reuben H.

Donnelley Corp. v. Mark I Marketing Corp., 893 F. Supp. 285, 289 (S.D.N.Y. 1995)(citation

omitted).

       149.     As a director of Plaintiffs, O’Keefe had a duty to serve Plaintiffs “good faith and

with that degree of care which an ordinarily prudent person in a like position would use under

similar circumstances.” N.Y. Bus. Corp. Law § 717(a).

       150.     Under the common law, a corporate director has the fiduciary to manage corporate

assets in a reasonable way and is liable for any waste or misappropriation of corporate property,

and is reflected in N.Y. Bus. Corp. Law § 720. Superintendent of Ins. v Freedman, 443 F. Supp.

628, (S.D.N.Y. 1977), aff'd, 594 F.2d 852 (2d Cir. N.Y. 1978).

       151.     O’Keefe acknowledged that board members and officers, like himself, have a “duty

of care and duty of loyalty to the organization”, i.e., to Project Veritas. See

https://www.youtube.com/watch?v=1JPxqKjYG9Q.

       152.     O’Keefe breached his fiduciary duties to Plaintiffs by a) forming OMG while still

a member of the boards of directors, b) soliciting employees and/or contractors of Plaintiffs to join

OMG; c) soliciting donors of Plaintiffs to donate to OMG, which donations otherwise may have

inured to the benefit of Plaintiffs; d) causing Plaintiffs to make the aforementioned lavish

expenses; and e) claiming copyright in Breakthrough, American Pravda, and American Muckraker

and diverting profits from such books away from Project Veritas.

       153.     As a direct and proximate result of O’Keefe’s breaches of fiduciary duty, Plaintiffs

suffered monetary damages as well as irreparable harm, which must be enjoined by this Court.




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                                       COUNT IV
                               BREACH OF DUTY OF LOYALTY

                                       (Plaintiffs vs. O’Keefe)

         154.   Plaintiffs reallege paragraphs 1 through 107 hereof, as if fully set forth herein.

         155.   O’Keefe was employed by Plaintiffs through May 15, 2023.

         156.   New York Law “requires an employee to exercise the utmost good faith, including

a duty of loyalty, toward his employer.” Consolidated Edison Co. v Zebler, 40 Misc 3d 1230[A],

975 N.Y.S.2d 708 (Sup Ct, NY County 2013).

         157.   Under this doctrine, “an employee who acts in any manner inconsistent with his

agency or trust and fails to exercise the utmost good faith and loyalty in the performance of his

duties is deemed a faithless servant and must account to his principal for secret profits and forfeit

his right to compensation.” Mosionzhnik v Chowaiki, 41 Misc 3d 822, 831, 972 N.Y.S.2d 841 (Sup

Ct, NY County 2013)(cleaned up); accord Phansalkar v. Andersen Weinroth & Co., L.P., 344 F.3d

184, 200 (2d Cir. 2003).

         158.   O’Keefe breached his fiduciary duties to Plaintiffs by a) forming OMG while still

employed by Plaintiffs, b) soliciting employees and/or contractors of Plaintiffs to join OMG; c)

soliciting donors of Plaintiffs to donate to OMG, which donations otherwise may have inured to

the benefit of Plaintiffs; d) causing Plaintiffs to make the aforementioned lavish expenses; and e)

claiming copyright in Breakthrough, American Pravda, and American Muckraker and diverting

profits from such books away from Project Veritas.

         159.   As a direct and proximate result of O’Keefe’s breaches of his duty of loyalty,

Plaintiffs suffered monetary damages as well as irreparable harm, which must be enjoined by this

Court.




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                                            COUNT V
                                           CONVERSION

                                       (Plaintiffs vs. O’Keefe)

          160.   Plaintiffs repeat and reallege paragraphs 1 through 107 hereof, as if fully set forth

herein.

          161.   Under New York law, “‘[a] conversion takes place when someone, intentionally

and without authority, assumes or exercises control over personal property belonging to someone

else, interfering with that person’s right of possession.’” William Doyle Galleries, Inc. v Stettner,

167 AD3d 501, 505, 91 NYS3d 13 (1st Dept 2018), quoting Colavito v New York Organ Donor

Network, Inc., 8 NY3d 43, 49-50 (2006). “Two key elements of conversion are (1) plaintiff's

possessory right or interest in the property[;] and (2) defendant’s dominion over the property or

interference with it, in derogation of plaintiff’s rights” Colavito, 8 NY3d at 50 (citations omitted).

          162.   O’Keefe took and failed to return donor lists and contact information, equipment,

as well as unreleased investigation publications by Project Veritas all of which are trade secrets,

in derogation of Plaintiffs’ rights.

          163.   O’Keefe converted Plaintiffs’ said property to the use of OMG in competition with

Plaintiffs.

          164.   O’Keefe converted Project Veritas’s copyright interest in Breakthrough, American

Pravda, and American Muckraker to his personal use.

          165.   As a direct and proximate result of O’Keefe’s conversion, Plaintiffs suffered actual

losses and irreparable harm.

          166.   As a direct and proximate result of O’Keefe’s conversion, O’Keefe was unjustly

enriched.




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                                              COUNT VI
                                              REPLEVIN

                                        (Plaintiffs vs. O’Keefe)

          167.   Plaintiffs reallege paragraphs 1 through 89 hereof, as if fully set forth herein.

          168.   Under New York law, “[t]o state a cause of action for replevin, a plaintiff must

establish a superior possessory right to property in a defendant’s possession.” Reif v Nagy, 175

A.D.3d 107, 120 (1st Dept. 2019).

          169.   O’Keefe took and failed to return Plaintiffs’ donor lists and contact information,

equipment, as well as unreleased investigation publications by Project Veritas , all of which are

trade secrets, to which Plaintiffs have superior possessory rights.

          170.   O’Keefe took and possessed Plaintiffs’ said property for the use of OMG in

competition with Plaintiffs.

          171.   As a direct and proximate result of O’Keefe’s taking and possession of Plaintiffs’

property, Plaintiffs were deprived of the use and enjoyment of such property and suffered actual

losses and irreparable harm.

                                           COUNT VII
                                        INDEMNIFICATION

                                        (Plaintiffs vs. O’Keefe)

          172.   Plaintiffs repeat and reallege paragraphs 1 through 89 hereof, as if fully set forth

herein.

          173.   Under New York law, “[i]mplied indemnity is restitution concept which permits

shifting the loss because to fail to do so would result in the unjust enrichment of one party at the

expense of the other. Generally, it is available in favor of one who is held responsible solely by

operation of law because of his relation to the actual wrongdoer[.]” Mas v. Two Bridges Assocs.,

75 N.Y.2d 680, 690 (1990).


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       174.    Further, “the key element of a common-law cause of action for indemnification is

not a duty running from the indemnitor to the injured party, but rather is ‘a separate duty owed the

indemnitee by the indemnitor.’” Raquet v. Braun, 90 N.Y.2d 177, 183 (1997) (quoting Mas, supra

at 690).

       175.    At all relevant times herein, O’Keefe owed numerous duties to Plaintiffs as a

director, officer, and employee thereof.

       176.    To the extent Plaintiffs may be subject to investigation and/or action against them

on account of actions taken by or the errors or omissions of O’Keefe, Plaintiffs are entitled to

indemnity from O’Keefe for costs of defense and/or liability.

                                     COUNT VIII
                       TORTIOUS INTERFERENCE WITH CONTRACT

                                       (Plaintiffs vs. OMG)

       177.    Plaintiffs reallege paragraphs 1 through 89 hereof, as if fully set forth herein.

       178.    Under New York law, “[t]o recover damages for tortious interference with contract,

the plaintiff must prove the existence of a valid contract with a third party, the defendant’s

knowledge of that contract, the defendant’s intentional and improper procurement of a breach of

that contract, and damages.” Stuart'S v. Edelman, 196 A.D.3d 711, 712 (2nd Dep’t 2021).

       179.    The Employment Agreement is a valid and binding contract between Project

Veritas and O’Keefe.

       180.    Project Veritas Action Fund is an intended beneficiary of the Employment

Agreement.

       181.    At all times relevant herein, OMG had knowledge of the Employment Agreement

as its managing member and primary officer and agent was O’Keefe, a party to the contract.




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       182.    As set forth above, O’Keefe was required under the Employment Agreement ¶ 1.B

to devote his full working time and attention and best efforts to the performance of his job.

       183.    Although O’Keefe was on Paid Time Off, the formation of OMG, to compete with

Project Veritas, violated requirements of ¶ 1.B.

       184.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 10.A that all

of the work and work product derived from O’Keefe’s services belonged to Project Veritas.

       185.    O’Keefe’s use of donor lists and contact information, equipment, as well as already

filmed and/or released investigation publications by Project Veritas, rebranded as OMG material.

violates ¶ 10.A as he is using property of Project Veritas without authorization.

       186.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

       187.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 11 that any

and all information O’Keefe learned in the course of his employment was confidential.

       188.    O’Keefe’s use of donor lists and contact information, equipment, as well as

unreleased investigation publications by Project Veritas, rebranded as OMG material, violates ¶

11 and breaches the confidentiality to which he is obligated.

       189.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation and breach.

       190.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 12 that he

would not make negative remarks about or disparage Project Veritas and its affiliated persons.

       191.    O’Keefe’s statements, identified above, violate ¶ 12 they are negative and

disparaging of Project Veritas and its affiliated persons.




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        192.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

        193.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 15 that he

would not engage in ventures giving rise conflicts of interest with Project Veritas.

        194.    O’Keefe’s formation and operation of OMG while employed at Project Veritas

without express written consent violates ¶ 15 as OMG competes with Plaintiffs and is a direct

conflict of interest.

        195.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

        196.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 16 that he

would not solicit Project Veritas past and present employees and contractors during and for 12

months after his employment.

        197.    O’Keefe violated ¶ 16 by soliciting past and present Project Veritas employees and

contractors, beginning February 20, 2023.

        198.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

        199.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 17 that he

would not solicit Project Veritas present or prospective donors during and for 12 months after his

employment.

        200.    O’Keefe violated ¶ 17 by soliciting present and/or prospective donors.

        201.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.




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       202.    As set forth above, O’Keefe agreed in the Employment Agreement ¶ 22 to return

Project Veritas property at separation from employment.

       203.    Demand was made on May 17, 2023, for O’Keefe to return all of Plaintiffs’

property in his possession.

       204.    O’Keefe violated ¶ 22 by failing to return donor lists and contact information,

equipment, as well as already filmed and/or released investigation publications by Project Veritas.

       205.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

       206.    As a direct and proximate result of O’Keefe’s breaches of contract, intentionally

and improperly procured by OMG, Plaintiffs have suffered actual damages, which they are entitled

to recover from OMG.

       207.    As a direct and proximate result of O’Keefe’s breaches of ¶¶ 11 & 12 of the

Employment Agreement, intentionally and improperly procured by OMG, Plaintiffs are entitled to

$100,000 in liquidated damages per breach, which they are entitled to recover from OMG.

       208.    As a direct and proximate result of O’Keefe’s foregoing breaches of contract,

intentionally and improperly procured by OMG, Plaintiffs have been irreparably harmed, and they

are entitled to preliminary and permanent injunctive relief enjoining OMG from: (1) disparaging

Plaintiffs, through O’Keefe and/or based on information provided by him, in violation of the non-

disparagement provision of the Employment Agreement; (2) contacting or soliciting Plaintiffs’

donors in violation of the non-solicitation of donors provision of the Employment Agreement,

through O’Keefe and/or based on information provided by him; (3) contacting or soliciting

Plaintiffs’ employees or contractors in violation of the Agreement’s non-solicitation of employees

provision, through O’Keefe and/or based on information provided by him; (4) obtaining, using or




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disclosing any of Plaintiffs’ Confidential Information (as defined in the Employment Agreement)

in violation of the Employment Agreement’s provisions regarding Confidential Information,

through O’Keefe and/or based on information provided by him; and (5) keeping and failing to

return any and all property belonging to Plaintiffs, through O’Keefe, and Plaintiffs are entitled to

attorneys’ fees and costs to obtain such injunctive relief.

       209.    Plaintiffs have suffered and will continue to suffer irreparable harm unless the

Court enjoins OMG misconduct. First, O’Keefe acknowledged in the Employment Agreement

that his breaches of his obligations and these restrictive covenants caused irreparable harm to

Plaintiffs, and OMG is bound by such acknowledgment. Second, if OMG is not enjoined Plaintiffs

will continue to lose donors, employees and suffer reputational harm and injury to its goodwill.

       210.    The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if OMG is not enjoined. On the other hand, OMG

would suffer no prejudice under the proposed injunction.

       211.    Finally, an immediate injunction is necessary because without it any final

injunction Plaintiffs win in the future will be rendered ineffectual or meaningless. If OMG is not

enjoined from soliciting Plaintiffs’ donors and employees and misappropriating its Confidential

Information, OMG will have solicited all or enough donors and employees and misappropriated

enough Confidential Information such that a final award enjoining OMG from continuing that

conduct will be meaningless.

                                         COUNT IX
                                    BREACH OF CONTRACT

                                     (Plaintiffs vs. Iatropoulos)

       212.    Plaintiffs reallege paragraphs 1 through 89 hereof, as if fully set forth herein.




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        213.    To state a claim for a breach of contract, a plaintiff must show “the existence of a

contract, the plaintiff’s performance thereunder, the defendant’s breach thereof, and resulting

damages.” Harris v. Seward Park Housing Corp., 79 A.D.3d 425, 426 (1st Dep’t 2010).

        214.    The Iatropoulos Agreement is a valid and binding contract between Project Veritas

and Iatropoulos.

        215.    Project Veritas Action Fund is an intended beneficiary of the Iatropoulos

Agreement.

        216.    As set forth above, Iatropoulos agreed in the Iatropoulos Agreement ¶ 24 to return

Project Veritas property at separation from employment.

        217.    Demand was made on April 18, 2023, for Iatropoulos to return all of Plaintiffs’

property in his possession including, but not limited to a MacBook Air (M1, 2020).

        218.    Iatropoulos violated ¶ 24 by failing to return the said equipment.

        219.    Iatropoulos claims to have lost the MacBook Air and told Project Veritas he would

pay for it, but he has not done so and ceased all communications. Thus, his representations lack

credibility and Iatropoulos may actually be using this device for the benefit of OMG.

        220.    As a direct and proximate result of Iatropoulos’s foregoing breaches of contract,

Plaintiffs have suffered actual damages, which they are entitled to recover from Iatropoulos.

        221.    As a direct and proximate result of Iatropoulos’s foregoing breaches of contract,

Plaintiffs have been irreparably harmed, and they are entitled to preliminary and permanent

injunctive relief enjoining Iatropoulos from keeping and failing to return any and all property

belonging to Plaintiffs, and Plaintiffs are entitled to attorneys’ fees and costs to obtain such

injunctive relief.




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          222.   Plaintiffs have suffered and will continue to suffer irreparable harm, including, but

not limited to, the use of Plaintiffs’ own equipment in direct competition with Plaintiffs, unless the

Court enjoins Iatropoulos’s misconduct.

          223.   The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if Iatropoulos is not enjoined. On the other hand,

Iatropoulos would suffer no prejudice under the proposed injunction.

                                           COUNT X
                                      BREACH OF CONTRACT

                                         (Plaintiffs vs. Maxwell)

          224.   Plaintiffs repeat and reallege paragraphs 1 through 89 hereof, as if fully set forth

herein.

          225.   To state a claim for a breach of contract, a plaintiff must show “the existence of a

contract, the plaintiff’s performance thereunder, the defendant’s breach thereof, and resulting

damages.” Harris v. Seward Park Housing Corp., 79 A.D.3d 425, 426 (1st Dep’t 2010).

          226.   The Maxwell Agreement is a valid and binding contract between Project Veritas

and Maxwell.

          227.   Project Veritas Action Fund is an intended beneficiary of the Maxwell Agreement.

          228.   As set forth above, Maxwell agreed in the Maxwell Agreement ¶ 26 to return

Project Veritas property at separation from employment.

          229.   Demand was made on April 18, 2023, for Maxwell to return all of Plaintiffs’

property in his possession including, but not limited to a MacBook Pro (13-inch, M1, 2020) SN:

FVFG41PCQ05F.

          230.   Maxwel1 violated ¶ 26 by failing to return the said equipment.




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        231.    Maxwell identifies himself as doing “Comms for O’Keefe Media Group”. See

https://twitter.com/BlackHannity.

        232.    Upon information and belief, Maxwell has used one or more of these devices for

the benefit of OMG.

        233.    Pursuant to ¶ 14(D), Maxwell was prohibited from using Plaintiffs assets “in the

performance, consideration or coordination of any outside activity”, and, thus, his use of said

equipment is a violation of the Maxwell Agreement.

        234.    As a direct and proximate result of Maxwell’s foregoing breaches of contract,

Plaintiffs have suffered actual damages, which they are entitled to recover from Maxwell.

        235.    As a direct and proximate result of Maxwell’s foregoing breaches of contract,

Plaintiffs have been irreparably harmed, and they are entitled to preliminary and permanent

injunctive relief enjoining Maxwell from keeping and failing to return any and all property

belonging to Plaintiffs, and Plaintiffs are entitled to attorneys’ fees and costs to obtain such

injunctive relief.

        236.    Plaintiffs have suffered and will continue to suffer irreparable harm, including, but

not limited to, the use of Plaintiffs’ own equipment in direct competition with Plaintiffs, unless the

Court enjoins Maxwell’s misconduct.

        237.    The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if Maxwell is not enjoined. On the other hand,

Maxwell would suffer no prejudice under the proposed injunction.

                                      COUNT XI
                        TORTIOUS INTERFERENCE WITH CONTRACT

                                         (Plaintiffs vs. OMG)

        238.    Plaintiffs paragraphs 1 through 89 hereof, as if fully set forth herein.



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       239.    Under New York law, “[t]o recover damages for tortious interference with contract,

the plaintiff must prove the existence of a valid contract with a third party, the defendant’s

knowledge of that contract, the defendant’s intentional and improper procurement of a breach of

that contract, and damages.” Stuart'S v. Edelman, 196 A.D.3d 711, 712 (2nd Dep’t 2021).

       240.    The Iatropoulos Agreement is a valid and binding contract between Project Veritas

and Iatropoulos.

       241.    Project Veritas Action Fund is an intended beneficiary of the Iatropoulos

Agreement.

       242.    At all times relevant herein, OMG had knowledge of the Iatropoulos Agreement as

its managing member and primary officer and agent was O’Keefe, the principal executive for

Plaintiffs at the time the agreement was entered into.

       243.    As set forth above, Iatropoulos agreed in the Iatropoulos Agreement ¶ 24 to return

Project Veritas property at separation from employment.

       244.    Iatropoulos violated ¶ 24 by failing to return Plaintiffs’ equipment.

       245.    Upon information and belief, Iatropoulos may have used one or more of these

devices for the benefit of OMG.

       246.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violation.

       247.    As a direct and proximate result of Iatropoulos’s breaches of contract, intentionally

and improperly procured by OMG, Plaintiffs have suffered actual damages, which they are entitled

to recover from OMG.

       248.    As a direct and proximate result of Iatropoulos’s foregoing breaches of contract,

intentionally and improperly procured by OMG, Plaintiffs have been irreparably harmed, and they




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are entitled to preliminary and permanent injunctive relief enjoining OMG from keeping and

failing to return any and all property belonging to Plaintiffs, through Iatropoulos, and Plaintiffs are

entitled to attorneys’ fees and costs to obtain such injunctive relief.

       249.    Plaintiffs have suffered and will continue to suffer irreparable harm unless the

Court enjoins OMG misconduct, as set forth above with respect to Iatropoulos.

       250.    The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if OMG is not enjoined. On the other hand, OMG

would suffer no prejudice under the proposed injunction.

                                     COUNT XII
                       TORTIOUS INTERFERENCE WITH CONTRACT

                                        (Plaintiffs vs. OMG)

       251.    Plaintiffs reallege paragraphs 1 through 89 hereof, as if fully set forth herein.

       252.    Under New York law, “[t]o recover damages for tortious interference with contract,

the plaintiff must prove the existence of a valid contract with a third party, the defendant’s

knowledge of that contract, the defendant’s intentional and improper procurement of a breach of

that contract, and damages.” Stuart'S v. Edelman, 196 A.D.3d 711, 712 (2nd Dep’t 2021).

       253.    The Maxwell Agreement is a valid and binding contract between Project Veritas

and Maxwell.

       254.    Project Veritas Action Fund is an intended beneficiary of the Maxwell Agreement.

       255.    At all times relevant herein, OMG had knowledge of the Maxwell Agreement as its

managing member and primary officer and agent was O’Keefe, the principal executive for

Plaintiffs at the time the agreement was entered into.

       256.    As set forth above, Maxwell agreed in the Maxwell Agreement ¶ 26 to return

Project Veritas property at separation from employment.



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       257.    Maxwell violated ¶ 26 by failing to return Plaintiffs’ equipment.

       258.    Maxwell identifies himself as doing “Comms for O’Keefe Media Group”. See

https://twitter.com/BlackHannity.

       259.    Upon information and belief, Maxwell has used one or more of these devices for

the benefit of OMG.

       260.    Pursuant to ¶ 14(D), Maxwell was prohibited from using Plaintiffs assets “in the

performance, consideration or coordination of any outside activity”, and, thus, his use of said

equipment is a violation of the Maxwell Agreement.

       261.    OMG, through its managing member and principal officer, O’Keefe, intentionally

and improperly procured such violations.

       262.    As a direct and proximate result of Maxwell’s breaches of contract, intentionally

and improperly procured by OMG, Plaintiffs have suffered actual damages, which they are entitled

to recover from OMG.

       263.    As a direct and proximate result of Maxwell’s foregoing breaches of contract,

intentionally and improperly procured by OMG, Plaintiffs have been irreparably harmed, and they

are entitled to preliminary and permanent injunctive relief enjoining OMG from keeping and

failing to return any and all property belonging to Plaintiffs, through Maxwell, and Plaintiffs are

entitled to attorneys’ fees and costs to obtain such injunctive relief.

       264.    Plaintiffs have suffered and will continue to suffer irreparable harm unless the

Court enjoins OMG misconduct, as set forth above with respect to Maxwell.

       265.    The balance of the equities falls entirely in favor of Plaintiffs. Plaintiffs’ allegations

set forth the various injuries they would suffer if OMG is not enjoined. On the other hand, OMG

would suffer no prejudice under the proposed injunction.




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                                   COUNT XIII
                     DECLARATION OF OWNERSHIP OF COPYRIGHT

                                   (Project Veritas vs. O’Keefe)

   266.        Plaintiffs reallege paragraphs 1 through 107 hereof, as if fully set forth herein.

   267.        As set forth above, Paragraph 10.A of the Employment Agreement and, upon

information and belief, its predecessors, vests copyright in all works created by O’Keefe in the

course and/or scope of his employment with Project Veritas in Project Veritas.

   268.        Similarly, pursuant to 17 U.S.C. § 101, a “work for hire” is a work prepared by an

employee within the scope of their employment.

   269.        As set forth above, American Muckraker was created within the course and scope

of O’Keefe’s employment with Project Veritas.

   270.        As set forth above, American Muckraker was authored, in whole or in part, by

Project Veritas employees in the course and scope of their employment.

   271.        As set forth above, American Pravda was created within the course and scope of

O’Keefe’s employment with Project Veritas.

   272.        As set forth above, American Pravda was authored, in whole or in part, by Project

Veritas employees in the course and scope of their employment.

   273.        As set forth above, Breakthrough was created within the course and scope of

O’Keefe’s employment with Project Veritas.

   274.        As set forth above, Breakthrough was authored, in whole or in part, by Project

Veritas employees in the course and scope of their employment.

   275.        Thus, pursuant to Paragraph 10.A of the Employment Agreement and/or its

predecessors, and/or pursuant to 17 U.S.C. § 101, Project Veritas is entitled to a declaration that it

is the real copyright holder in Breakthrough, American Pravda, and American Muckraker.



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V.     PRAYER FOR RELIEF

       WHEREFORE Plaintiff respectfully requests that this Court

       a)       Declare O’Keefe in breach of his Employment Agreement, in violation of his

fiduciary duties, and in violation of his duty of loyalty;

       b)       Declare Iatropoulos in breach of the Iatropoulos Agreement;

       c)       Declare Maxwell in breach of the Maxwell Agreement;

       d)       Declare OMG to have tortiously interfered with the Employment Agreement, the

Iatropoulos Agreement, and the Maxwell Agreement;

       e)       Declare O’Keefe to have misappropriated Plaintiffs’ trade secrets;

       f)       Declare O’Keefe liable to indemnify Plaintiffs for the costs of defense and/or

liabilities arising from actions taken by him or his errors or omissions;

       g)       Declare that the copyrights in Breakthrough, American Pravda, and American

Muckraker belong to Project Veritas alone;

       h)       Issue a preliminary and permanent injunction enjoining O’Keefe and OMG

(through O’Keefe and/or based on information from O’Keefe) from:

                    i. Soliciting or contacting Plaintiffs’ donors, employees or contractors;

                   ii. Disparaging Plaintiffs;

                  iii. Obtaining, using or disclosing Plaintiffs’ Confidential Information;

                   iv. Keeping and failing to return Plaintiffs’ property; and

                   v. Causing income from Breakthrough, American Pravda, and American

                       Muckraker to be diverted away from Project Veritas;

       i)       Issue a preliminary and permanent injunction enjoining Iatropoulos and Maxwell

from keeping and failing to return Plaintiffs’ property;




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          j)       Compel O’Keefe to account for his official conduct under N.Y. Bus. Corp. Law §

720(a);

          k)       Award Plaintiffs compensatory (actual and/or liquidated), punitive, and nominal

damages;

          l)       Disgorge a) all funds by which O’Keefe and OMG were unjustly enriched on

account of his misappropriation of Plaintiffs’ trade secrets; b) disgorging his salary during his

period of disloyalty;       and c) disgorging all income received by O’Keefe from sales of

Breakthrough, American Pravda, and American Muckraker;

          m)       Award Plaintiffs exemplary damages under 18 U.S.C. § 1836(b)(3)(C); and

          n)       Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to Paragraph

23(B) of the Employment Agreement, Paragraph 25 of the Iatropoulos Agreement, Paragraphs 21

& 22 of the Maxwell Agreement, 18 U.S.C. § 1836(b)(3)(D) and as otherwise allowable by law.

VI.       DEMAND FOR JURY TRIAL

          Plaintiffs demand trial by jury on all claims, defenses, and all other issues triable by jury

in this matter.

Dated: October 12, 2023.                             Respectfully Submitted,
                                                     /s/ Jay M. Wolman
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